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  iBARRY ROSEN
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   Tel: (323) 653-2043
                                                                               NOV - 9
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         In Pro Per
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 6
                              UNITED STATES DISTRICT COURT

  s                          CENTRAL DISTRICT OF CALIFORNIA
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                BARRY ROSEN,                          Case No. 17-CV-07727-PSG-JEMx
io Individually and as a Private Attorney
ii General
                Petitioner and Plaintiff,             PLAINTIFF'S RESPONSE AND
i2                                                    OPPOSITION TO EX
13                          vs.                       DEFENDANTS EX PARTE
                                                      APPLICATION FOR EXTENSION
14
   UNITED STATES GOVERNMENT,                          OF TIME TO RESPOND TO
15 FEDERAL    AVIATION                                PETITION
   ADMINISTRATION, AND CITY OF
16
   SANTA MONICA,
i~             Respondents and                        [Declaration of Barry Rosen filed
ig Defendants.                                        concurrently herewith]

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               Plaintiff hereby opposes Defendant City of Santa Monica's ("CSM")

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         untimely, improper and bad faith Ex Parte application for an extension of time to

24       respond to petition filed on November 8, 2017 on the following grounds:

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26             1. Failure to comply with the Courts Standing Order ¶ 10.
2~             Pursuant to Paragraph 10 of the Courts Standing Order "The moving party
Zs       shall serve the opposing party by facsimile transmission and shall notify the
                       PLAINITFF'S RESPONSE/OPPOSITION TO DEFENDANTS EX PARTE

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 1   opposition that opposing papers must be filed not later than 3:00 p.m. on the first
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     business day following such facsimile service."
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            It is clear that Defendant CSM fully failed to comply with ¶ 10 by serving
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     Plaintiff with a facsimile transmission as required and was therefore precluded
 s
     from filing their ex parte application in the first instance (Declaration of Barry
 6
     Rosen ¶¶ 3-4 ). Moreover as will be discussed further below, Defendant CSM
     admittedly, simply left a phone message for Plaintiff on a day that they specifically
 s
     knew that Plaintiff would be unavailable.
 9
            The Court should therefore deny Defendants' ex parte application for failurE
io
     ~ to comply with ¶ 10 of its standing order.
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            2. Failure to serve Plaintiff with the Ex Parte Aaalication

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            As noted above, Defendant CSM not only failed to serve Plaintiff with a

is   facsimile transmission as required under ¶ 10 of the courts standing order, but also

16   fully failed to serve Plaintiff with their Ex Parte application documents pursuant

i~   Fed. R. Civ. P. 5. As a result, Plaintiff had to obtain the documents on his own
ig (Declaration of Barry Rosen ¶¶ 4-6 ).
~9          The Court should therefore deny Defendants' ex parte application for failure
Zo   to serve Plaintiff with documents as required under Fed. R. Civ. P. 5.
21

22         3.Failure to comply with Local Rule 7-19.1
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           Defendant CSM admittedly had been made aware ofthat fact that Plaintiff
24
     was unavailable on November 8, 2017 due to a surgical procedure, yet decided in
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     bad faith to improperly take advantage ofthe situation by filing an ex parte on a
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     day that they clearly knew that they would not be able to reach out to Plaintiff. In
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     fact, in his phone message left for Plaintiff at approximately 3:41 PM on
Zs
                    PLAINITFF'S RESPONSE/OPPOSITION TO DEFENDANTS EX PARTE

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     November 8, 2016, Mr. O'Conner even acknowledges the fact that he was aware
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     ofthe medical procedure that I probably might not be able to respond back until
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     the next day (Declaration of Barry Rosen ¶ 3 ). Moreover, Defendant CSM also
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     failed to take into account that Plaintiff would be temporarily impaired on
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     November 8, 2017 due to having been given medications required for the medical
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     procedure and was therefor legally precluded from making any decisions related to
     this matter.
 s
           Because Defendant CSM clearly knew that Plaintiff was unavailable on
 9
     November 8, 2017, and should have know that Plaintiff would be temporarily
io
     impaired. It is wholly clear that there is no way whatsoever that Defendant CSM
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     have not made a good faith effort to comply with Local Rule 7-19.1. As a result,
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     the Court should therefore deny Defendant's ex parte application for failure to

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     comply with Local Rule 7-19.1.

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16         4. No Actual Emergency Exists to Justify Ex Parte Relief

t~         Defendant CSM themselves are at fault for creating the situation for which
is   they now seek ex parte relief. Defendants clearly had ample time after they were
19   served with the Complaint, to request a meet and confer with Plaintiff, but
ao   inexplicably failed to do so and instead waited until effectively 2 days before the
ai   L.R. 7-3 cutoff date, prior to even making such a meet and confer request to
22 Plaintiff. Defendant CSM then waited until after the deadline date had passed to
23
     file its ex parte application, after it was clearly too late. Furthermore, Defendant
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     CSM has also failed to demonstrate how it would be irreparably prejudiced, as it
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     has numerous options available to it that can be heard at regularly noticed motion
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     procedures. These include but are not limited to motions for judgment on the
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     pleadings and a motion for summary judgment.
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                    PLAINITFF'S RESPONSE/OPPOSITION TO DEFENDANTS EX PARTE

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             Quoting this courts previous rulings:"The law on ex parte applications is
 2    well-settled in the Ninth Circuit: In order to justify ex parte relief, the moving part
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      must establish(1)that its cause will be irreparably prejudiced if the underlying
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      motion is heard according to regularly noticed motion procedures, and (2)that it is
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      without fault in creating the crisis that requires ex pane relief, or that the crisis
 6
      occurred as a result of excusable neglect. See Mission Power Eng'g Co. v. Cont'1
      Cas. Co., 883 F. Supp. 488,492(C.D. Cal. 1995). Additionally, the Court's
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      Standing Order requires strict compliance with the Mission Power standard and
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      makes clear that "[e]x parte applications are solely for extraordinary relief."
io
             The "opportunities for legitimate ex parte applications are extremely limited,
~i
      Horne v. Wells Fargo Bank, N.A., 969 F.Supp.2d 1203, 1205 (2013)(quoting
12
      Mission Power Engineering Co. v. Continental Casualty Co., 883 F.Supp. 488, 489
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14
     (C.D. Cal 1995)). To justify ex parte relief, the moving party must establish:(1)

Is "that its cause will be irreparably prejudiced if the underlying motion is heard
16    according to regular noticed motion procedures"; and (2)"that it is without fault in
i~    creating the crisis that requires ex parte relief, or that the crisis occurred as a result
~s    of excusable neglect." Buchanan v. Neighbors Van Lines, No. CV 10-6206 PSG,
i9 2010 U.S. Dist. LEXIS 98003, 2010 WL 3488209, * 1 (C.D. Cal Sept. 1,
zo   2010)(citing Mission Power, 883 F.Supp. at 492)
21          Therefore, because the purported crisis is of Defendants' own doing due to i1
22   own excusable neglect and because defendants have failed to demonstrate that
23
      will be irreparably prejudiced, the court should deny the ex parte application.
24
            Finally, Plaintiff notes that it will be filing concurrently with this Objection
25
     a Notice of Related Case pursuant to Local Rule 83-1.3 because Plaintiff now
26
     believes that the court should now act Sua Sponte and fully vacatur Case No. CV
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      13-8046- JFW(VBKx)in its entirety for the reasons given above and/or in the
Zs
                     PLAINITFF'S RESPONSE/OPPOSITION TO DEFENDANTS EX PARTS

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      Petition/Complaint.
            For the foregoing reasons, the court should now deny Defendant CSM's Ex
 3
      Parte Application.
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      Respectfully submitted,
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      Dated: November 9, 2017
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 9                                                Barry Rosen, In Propria Persona
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                    PLAINITFF'S RESPONSE/OPPOSITION TO DEFENDANTS EX PARTE

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 6                           UNITED STATES DISTRICT COURT
 7
                           CENTRAL DISTRICT OF CALIFORNIA
 s
                    BARRY ROSEN,                     Case No. 17-CV-07727-PSG-JEMx
 9
       Individually and as a Private Attorney
io     General
~i                  Petitioner and Plaintiff,     [PROPOSED] ORDER DENYING
                                                  DEFENDANTS EX PARTE
i2                        vs.                      APPLICATION FOR EXTENSION
13                                                 OF TIME TO RESPOND TO
       UNITED STATES GOVERNMENT,                  PETITION
14
       FEDERAL AVIATION
15     ADMINISTRATION, AND CITY OF
       SANTA MONICA,
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                   Respondents and
17     Defendants.
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~~~~         On reading the Respondants' ex parte application on file in this action, and
21     Petitioners's opposition thereto, the Court finds that the ex pane it was improper as
       Defendants failed to comply with Paragraph 10 of this courts standing orders,
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23           IT IS ORDERED that Defendants Ex Parte application for extension of time
       to respond to petition is hereby DENIED
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25     IT IS SO ORDERED.
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       Date:
z~                                                    Hon Philip S. Gutierrez
2g                                                    United States District Judge
        (PROPOSED)ORDER RE DEFENDANTS EX PARTS APLLICATION TO EXTEND TIME TO RESPOND

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